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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                             §
THE DAILY WIRE, LLC, et al.,                 §
                                             §
         Plaintiffs,                         §
                                             §
v.                                           §    Case No. 6:23-cv-609-JDK
                                             §
UNITED STATES DEPARTMENT OF                  §
STATE, et al.,                               §
                                             §
         Defendants.                         §

                   ORDER GRANTING JOINT MOTION TO EXTEND
          Before the Court is the parties’ joint motion to extend Plaintiffs’ deadline to

 oppose Defendants’ motion to dismiss and to reschedule oral argument. Docket No.

 38. The Court GRANTS the motion.

          Pursuant to the parties’ agreement, Plaintiffs may file their opposition to

 Defendants’ motion to dismiss by April 10. Further, in-person oral argument is

 rescheduled for April 23, 2024, at 1:30 p.m. at the William M. Steger Federal

 Building and United States Courthouse, 221 West Ferguson Street, Courtroom

 102, Tyler, Texas 75702.

          So ORDERED and SIGNED this 5th day of April, 2024.



                                             ___________________________________
                                             JEREMY D. KERNODLE
                                             UNITED STATES DISTRICT JUDGE




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